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 5     Attorney for Plaintiff,
       Manuel A. Alfaro
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 7
 8                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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11    MANUEL A. ALFARO,                                  Case No.: 2:16-cv-02693-BRO-AFM
12
                     Plaintiff,                            NOTICE OF SETTLEMENT
13            vs.
14    MACY’S, INC., and DEPARTMENT
      STORES NATIONAL BANK, a
15    corporation
16
                     Defendants.
17
18            NOTICE IS HEREBY GIVEN that Plaintiff, Manuel A. Alfaro, and Defendants,
19     Macy’s, Inc. (“Macy’s”) and Department Stores National Bank (“DSNB”), have settled
20
21
       all claims between them in this matter. The parties are in the process of completing the

22     final settlement documents and expect to file a Stipulated Dismissal with Prejudice within
23
       the next thirty (30) days. The parties also request that the Court retain jurisdiction for any
24
25     matters related to completing and/or enforcing the settlement.
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28     ///
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30                                                   1                      NOTICE OF SETTLEMENT
                                                                             2:16-cv-02693-BRO-AFM
     Case 2:16-cv-02693-BRO-AFM Document 16 Filed 07/28/16 Page 2 of 3 Page ID #:55




 1          DATED this 28th day of July, 2016,

 2                                                   PRICE LAW GROUP, APC
 3
                                                      By:/s/ Stuart Price
 4                                                           Stuart Price, Esq.
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                                                             Manuel A. Alfaro
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     Case 2:16-cv-02693-BRO-AFM Document 16 Filed 07/28/16 Page 3 of 3 Page ID #:56




 1                                    CERTIFICATE OF SERVICE

 2
 3           I hereby certify that on July 28, 2016, a copy of the foregoing was filed

 4     electronically and served by U.S. Mail on anyone unable to accept electronic filing.

 5
       Notice of this filing will be sent by e-mail to all parties by operation of the court’s

 6
       electronic filing system or by mail to anyone unable to accept electronic filing as

 7
       indicated on the Notice of Electronic Filing. Parties may access this filing through the

 8
       court’s EM/ECF System.

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10
       /s/Sandra Padilla

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30                                                   3                       NOTICE OF SETTLEMENT
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